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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

LULA WILLIAMS, et al.,                          )
                                                )
Plaintiffs,                                     )
                                                ) Case No. 3:17-cv-00461 (REP)
v.                                              )
                                                )
BIG PICTURE LOANS, LLC, et al.,                 )
                                                )
Defendants.                                     )
                                                )

    DEFENDANT MATT MARTORELLO’S STIPULATION REGARDING REMAINING
                    ELEMENTS OF RICO 1962(c) CLAIM

          Defendant Matt Martorello, by and through his undersigned counsel, hereby files the

following stipulation regarding Plaintiffs’ Claim under 18 U.S.C. §1962(c):

          Given the Court’s June 27, 2023 ruling that control is not a prerequisite for purposes of

§ 1962(c) liability, (see, e.g., June 27 Transcript at 177:1-5; 180:9-12), Mr. Martorello stipulates

that, for the entire class period, he was associated with an association-in-fact enterprise the

activities of which affect, interstate or foreign commerce, and Mr. Martorello participated

in the operation of the affairs of the enterprise through the collection of unlawful debt.

          As a result, there are no remaining triable issues of material fact regarding Plaintiffs’

§ 1962(c) claim, and the Court can enter summary judgment on Plaintiffs’ § 1962(c) claim.1

Dated: June 30, 2023                              /s/ John David Taliaferro
                                                John David Taliaferro (Va. Bar. 71502)
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    Defendant reserves the right to appeal the Court’s legal rulings made with respect to § 1962.

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AGREED TO:

Dated: June 30, 2023                /s/ Kristi Cahoon Kelly
                                   Kristi Cahoon Kelly (VSB #72791)
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                                   Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

       I certify that on this 30th day of June, 2023, a true and correct copy of the foregoing was

served upon all parties that are registered to receive electronic service through the Court’s ECF

notice system in the above case.



                                               /s/ John David Taliaferro
                                             John David Taliaferro (Va. Bar. 71502)




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